 

 

Case 1:10-Cv-20004-i\/|GC Document 129 Entered on FLSD Docl<et 09/23/2010 Page 1 of 3

UN|TED STATES DISTR|CT COURT
SOUTHERN D|STR|CT OF FLOR|DA

CASE NO. 10-20004-C|V-COOKE/BANDSTRA
W|LL|AM RAK|P,
Plaintiffs,

V.

PARAD|SE AWN|NGS CORPORAT|ON,
a F|orida corporation, MANUEL ALC|BAR,
and JUAN CHAV|ANO, individual|y,

Defendant.

ORDER

 

TH|S CAUSE came before the Court on Plaintiffs’ Motion to Compel Discovery (D.E.
46) filed on July 30, 2010. Upon review of this motion, the response and reply thereto, the
court file and applicable |aw, it is hereby

ORDERED AND ADJUDGED that Plaintiffs’ Motion to Compe| Discovery is
GRANTED IN PART and DEN|ED lN PART as follows:

1. DEN|ED as MOOT with respect Plaintiffs’ Request for Admissions Nos. 1-17 in
view of defendants’ subsequent denial of these requests as set forth in its First
Supp|ementa| Response to Plaintiffs’ First Request for Admissions served on August 19,
2010.

2. GRANTED with respect to Request for Production No. 2. Accordingly,
defendants shall produce all documents responsive to this request including documents,
if any, pertaining to plaintiffs’ work at Miami Dade County projects within ten (10) days of

the date of this Order.

 

Case 1:10-Cv-20004-i\/|GC Document 129 Entered on FLSD Docl<et 09/23/2010 Page 2 of 3

3. DEN|ED as |VlOOT with respect to Request for Production Nos. 4, 37 and 38 in
view of defendants’ representation advising that all such responsive documents have now
been produced

4. DEN|ED as MOOT with respect to Request for Production No. 22 in view of
defendants’ representation that they have no such documents.

5. DEN|ED with respect to Request for Production No. 23 except to the extent that
defendants shall provide the names, addresses, payroll and time records of those
terminated employees who were similarly situated or performed similar duties to plaintiffs.
Defendants shall provide this information within ten (10) days of the date of this Order.

6. DEN|ED with respect to Request for Production No. 41, the Court finding this
request to be overly broad and unduly burdensome

7. GRANTED with respect to Request for Production No. 48 in view of defendants’
response advising that the subject documents are available for inspection and copying.

8. GRANTED with respect to interrogatory No. 1. According|y, defendants shall
provide a full and complete response to this interrogatory within ten (10) days of the date
of this Order.

9. DEN|ED with respect to interrogatories 4-6, 10, 11 and 13 in view of the drafting

errOl`S.

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DONE AND ORDERED in Chambers, at Miami, Florida thisg_§day of September,
2010.
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Ted E. Bandstra
United States Magistrate Judge

Case 1:10-Cv-20004-i\/|GC Document 129 Entered on FLSD Docl<et O9/23/2010 Page 3 of 3

Copies furnished to:
Honorable Marcia G. Cooke
Counsel of record

